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   DSJ1&2-PR Exh 564
                                                   Case: 1:17-md-02804-DAP Doc #: 2557-44 Filed: 08/30/19 2 of 41. PageID #: 412382                                                                                                                   ~


                                                                                                                                                                                                                                                          '


 AmerisourceBergen Corporation
 CSRA Process Review- Findings Matrix

 ID No.        Affected    Category   Findings & Observations                                                         Gaps & Risks                   Potential        Recommendations
               Area &                                                                                                                                Business
               Activity                                                                                                                              Impact
 1             Diversion   People     There are inconsistencies with respect lo who is reviewing and                  -Regulatory obligations        Yellow           Identify dedicated resource(s) and
               Control                adjudicaling orders held by the OMP al the distribution center. At some         related to diversion control                    allernatives al the dislribulion center to be
                                      facilities, it is the warehouse managers and supervisors, at others it is the   -Inconsistencies in the                         trained on the OMP Ensure they have
                                      cage and vaull clerks or the compliance clerks and al others it is the data     lreatment of orders held                        received !he training and reference guides
                                      process learn.                                                                  for review                                      developed by the corporate team.
                                                                                                                      -Inability to support
                                                                                                                      decisions upon third party                      In theory, the first-line reviewers should not
                                                                                                                      inquiry                                         be within CSRA because !hey are responsible
                                                                                                                                                                      for auditing the process. Ultimately this
                                                                                                                                                                      responsibility should fall to a salaried
                                                                                                                                                                      employee due lo the importance of the
                                                                                                                                                                      function.
                                                   -
"---'-~           -- As~igried   tm _?!"½™ay
 RANKING:
                                                                            _ Group A, Can be addressed Operationally

                      Select Priority:_ High           Medium             Low     _X_NA                               Select Category:_ Must Do                  Like to Do       Do Not Need to Do




                                                                                  _ Group B, Requires an IT Solution

                      Select Priority:_ High           Medium             Low     _X_NA                               Select Category:_ Must Do                  Like to Do _Do Not Need to Do

 DISCUSSION NOTES:

          1.   NO FURTHER ACTION REQUIRED - Consistency is found in the training and process; a dedicated resource is not necessary.




                                                                                                                                                                                         August 25, 2015

                                                                                                                                                                                                                       Exhibit:             005
                                                                                                                                                                                                                        Amerisource Bergen
                                                                                                                                                                                                                         MAY
                                                                                                                                                                                                                        August 4, 2018
                                                                                                                                                                                                                       Reporter: Amanda Miller. CRR




  HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                             AB0CMDL00250024
                                                         Case: 1:17-md-02804-DAP Doc #: 2557-44 Filed: 08/30/19 3 of 41. PageID #: 412383




A me risourceBergen Corporation
CSRA Process Review-Findings Matrix

ID No.           Affected      Category      Findings & Observations                                                    Gaps & Risks                   Potential       Recommendations
                 Area&                                                                                                                                 Business
                 Activity                                                                                                                              Impact
2                Diversion     Processes     There is currently a Jack of visibility to the process and rationale for   -Regulatory obligations        Yellow          The Diversion Control Team is currently
                 Control                     adjudicating orders held for review. While both the corporate and          related to diversion control                   working to standardize the processes and
                                             distribution center personnel reviewing orders provide comments. there     -Inconsistencies in the                        protocols for evaluating and documenting the
                                             is no standard set of defined reasons to support those decisions.          treatment of orders held                       decision rationale in order to drive
                                                                                                                        for review                                     consistency and transparency at both the
                                                                                                                        -Inability to support                          corporate and distribution center level
                                                                                                                        decisions upon lhrrd party                     reviews. Continue to develop additional
                                                                                                                        inquiry                                        training and guidance regarding the order
                                                                                                                                                                       adjudication process
          ·.·.           .• Asi.igi\ed to;   David May
RANKING:
                                                                                _ Group A, Can be addressed Operationally

                        Select Priority:_ High               Medium            Low     _X_NA                            Select Category:_ Must          Do         Like to Do _Do Not Need to Do




                                                                                       _ Group B, Requires an IT Solution

                        Select Priority:_ High               Medium            Low     _X_NA                            Select Category:_ Must          Do         Like to Do _Do Not Need to Do

NOTES:

     1.           NO FURTHER ACTION REQUIRED - There is complete visibility in the process, training and rationale. Training is in place; further documentation exists within the
                  Policies & Procedures.
     2.           CSRA recommendation -develop a more robust messaging system for the customer, that would support decisions made regarding OMP.
     3.           CSRA has identified enhancements to SAP that would also benefit customer support.




                                                                                                                                                                                         August 25. 2015




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HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                     ABDCMDL00250'o25
                                                Case: 1:17-md-02804-DAP Doc #: 2557-44 Filed: 08/30/19 4 of 41. PageID #: 412384




A me risourceBergen Corporation
CSRA Process Review- Findings Matrix

ID No.   Affected       Category    Findings & Observations                                                      Gaps & Risks                   Potential   Recommendations
         Area &                                                                                                                                 Business
         Activity                                                                                                                               Impact
3        Diversion      Systems     There is no coordination of order monitoring between ABDC and ABSG.          -Regulatory obligations        Red         Although the volume of controlled substances
         Control                    This presents the risk that a customer terminated by ABDC could              related to diversion control               handled by ABSG facilities id relatively low,
                                    continue to be serviced by ABSG, which has happened.                         -Inconsistencies in the                    the risks associated with the monitoring of
                                                                                                                 treatment of orders held                   controlled substances and reporting of
                                    Further for ABSG, there is no electronic monitoring of orders, all           for review                                 suspicious orders are particular~ high.
                                    communications related lo OMP matters are through email and any held         -Inability to confirm lhat
                                    orders must be approved by Frisco in order to fill. The OMP is a very        activities are complianl                   Formalize and memorialize the OMP for the
                                    manual process and the only record of OMP reviews by ABSG is the             with agreed upon                           other business units Improve
                                    email from the location identifying any suspicious orders to the corporate   standards and protocols                    communications and information sharing
                                    business unit.                                                                                                          between the business units distributing
                                                                                                                                                            controlled substances. Develop Master
                                                                                                                                                            Customer Maintenance files that are common
                                                                                                                                                            to all business units and locations.
                     Assigned to:   David May
                                                                                                                                                                                                       -
RANKING:
                                                                        _ Group A, Can be addressed Operationally

                Se/eel" Priority: __ High           Medium            Low          NA                  Select Category:_ Must Do                 Like to Do _Do Not Need to Do




                                                                              _ Group B, Requires an IT Solution

                Select Priority:_ High              Medium            Low          NA                  Select Category:_ Must Do                Like to Do _Do Not Need to Do

NOTES:




                                                                                                                                                                             August 25, 2015




HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                           ABDCMDL00250026
                                               Case: 1:17-md-02804-DAP Doc #: 2557-44 Filed: 08/30/19 5 of 41. PageID #: 412385




A me risourceBergen Corporation
CSRA Process Review - Findings Matrix

ID No.   Affected       Category   Findings & Observations                                                        Gaps & Risks                  Potential   Recommendations
         Area &                                                                                                                                 Business
         Activity                                                                                                                               Impact
4        Regulatory     Systems    Audit checklists are completed on paper, risk values and reports are           -Ineffective utilization of   Yellow      Create an electronic version of the audtt checklists
         O.,ersight -              manually developed so there is limited electronic evidence of the audit        time and resources -                      v.;thin the matter management solution that will
         Audits                    Audit resulls - scores, findings, issues -are tracked manually in              reduced productivrly,                     capture the audit findings, calculate risk values
                                   spreadsheets. In addition to being an inefficient way to manage the audit      reduced efficiency,                       and generale dashboards and reports. This will
                                                                                                                                                            irrprove effiaendes while eliminating the manual
                                   process, this makes it difficult to identify trends and risk areas that need   reduced quality
                                                                                                                                                            tracking and double recording or audtt findings.
                                   to be address.                                                                 - Compromises the ability
                                                                                                                  to collect relevant data                  Utilizing an electronic checklist muld also allow
                                                                                                                  and information                           irrprovements to the reporting and tracl<ing of
                                                                                                                  -Inability to confirm that                audils:
                                                                                                                  audits are complying with                 -reducing the time and effort to manualy prepare
                                                                                                                  agreed upon standards                     multiple iterations of the audit report by
                                                                                                                  and protocols                             establishing terr-plates that are fed by data
                                                                                                                                                            responsive to the checklists - to the facilities
                                                                                                                                                            through a recap report, regional leadership
                                                                                                                                                            through the preliminary report and management
                                                                                                                                                            via the final report:
                                                                                                                                                            -trencing data in order to share insights gained
                                                                                                                                                            from the audits to all locations induding the
                                                                                                                                                            problem areas, practices shown to be effective in
                                                                                                                                                            addressing those areas and positive compliance
                                                                                                                                                            results;
                                                                                                                                                            -establishing controls to oonfirm that audit
                                                                                                                                                            prolocots are corrpleted according to defined
                                                                                                                                                            standards and results are being reviewed regularly
                                                                                                                                                            by leadership.
                 · Assigned to:    Mays
RANKING:
                                                                        _ Group A, Can be addressed Operationally

                Select Priority:_ High             Medium             Low          NA                   Select Category:_ Must Do                Like to Do _Do Not Need to Do

                                                                             )!_~-~- Group B, Requires an IT Solution

                Select Priority:_ High        XXX Medium              Low           NA                 Select Category: XXX      Must Do_ Like to Do _Do Not Need to Do

NOTES:



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HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                  ABDCMDL00250b27
                                               Case: 1:17-md-02804-DAP Doc #: 2557-44 Filed: 08/30/19 6 of 41. PageID #: 412386




A me risourceBergen Corporation
CSRA Process Review - Findings Matrix

ID No.   Affected      Category    Findings & Observations                                                       Gaps & Risks                  Potential       Recommendations
         Area &                                                                                                                                Business
         Activity                                                                                                                              Impact
5        Regulatory    Processes   Audits are inefficient and there's a lot of adninislralive work associated    -Ineffective utilization of   Green           Having access lo items required for the pre-
         Oversight -               with the audits that CSRA must complete. II is a lime consuming process       lime and resources -                          audit and audit through a Matter
         Audits                    lo gather the required information, such as historical audit reports and      reduced productivity,                         Management Solution would increase
                                   training records, during the pre-audit. The on-site audit takes 30-40 hours   reduced efficiency,                           efficiencies and reduce the time needed to be
                                   to complete, plus there is additional time required to assign risk values     reduced quality                               spent on-site as documentation such as
                                   and transcribe the notes into an audit report. The en lire process through                                                  previous audits or safety checklists could be
                                   to final reports generally takes 6-8 weeks                                                                                  reviewed remotely by the auditor
  ..              Assigned to:     Mays
RANKING:
                                                                       _ Group A, Can be addressed Operationally

                Select Priority:_ High             Medium            Low          NA                   Select Category:_ Must           Do      Like to Do _Do Not Need to Do




                                                                            ~-~-~- Group B, Requires an IT Solution

                Select Priority:_ High       ~-~~ Medium             Low           NA                 Select Category:_Must Do ~X?S               Like to Do     Do Not Need to Do

NOTES:




                                                                                                                                                                                August 25, 2015




HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                              ABDCMDL00250028
                                                 Case: 1:17-md-02804-DAP Doc #: 2557-44 Filed: 08/30/19 7 of 41. PageID #: 412387




A me risourceBergen Corporation
CSRA Process Review- Findings Matrix

ID No.   Affected     Category       Findings & Observations                                                      Gaps & Risks              Potential       Recommendations
         Area &                                                                                                                             Business
         Activity                                                                                                                           Impact
6        Regulatory   Processes     CSRA does not have different checklists for the ABSG business units.          -Lack of visibility to    Red             Create an audit checklist and program
         Oiersighl-                 The auditors just "skip over" the questions that are not applicable, but do   issues or incidents not                   specific lo each business unit and train the
         Audits                     not supplement the checklists for requirements that are unique to those       captured                                  auditors on the procedures, risks and
                                    business units even though there are fundamental differences in the                                                     controls.
                                    business operations. For example, there are regulatory obligations
                                    associated with the relabeling that occurs at ICS that should be assessed
                                    as part of a Security & Regulatory Compliance audit.
           ..
                 A_ssig'ned to:     MaysiRoss
RANKING:
                                                                       XXX Group A, Can be addressed Operationally

                Select Priority:   >.<XX High       Medium _Low                    NA                   Select Category:     X_~ Must Do       Like to Do      Do Not Need to Do




                                                                             25.~-~ Group B, Requires an IT Solution
                Select Priority:_ XXX _ High              Medium _Low                    NA                       Select Category:    X~X Must Do   _Like to Do          Do Not Need to Do

NOTES: This one is both an operational and IT solution.




6                                                                                                                                                                             August 25, 2015




 HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                         ABDCMDL00250'029
                                                             Case: 1:17-md-02804-DAP Doc #: 2557-44 Filed: 08/30/19 8 of 41. PageID #: 412388




Ame risourceBergen Corporation
CSRA Process Review-Findings Matrix

ID No.    I   Affected           Category    I   Findings & Observations                                                     Gaps & Risks                 Potential       Recommendations
              Area &                                                                                                                                      Business
              Activi_l},_                                                                                                                                 lmp_act
                                             I
7             Regulatoiy
              Oversight-
              Audits
                                 Processes       Facilities are required lo complete self-audits, but there is a lack of
                                                 guidance around the self-audit requirements and protocols. In addition,
                                                 there is no template for reporting resulls to their Regional Direclor as
                                                                                                                            -Ineffective utilization of
                                                                                                                            time and resources -
                                                                                                                            reduced productivity,
                                                                                                                                                          Green
                                                                                                                                                                          ~G.f!..i~B~.M@cy:tgp@1W:fu~@f.
                                                                                                                                                                                     1(iiljllll111lq~r;~     1Hi
                                                                                                                                                                                                         @~u~~~iiff<!
                                                 instead the Compliance Managers just provide their own narratives.
                                                 Finally, the self-audits are completed manually so can be quite time
                                                                                                                            reduced efficiency,
                                                                                                                            reduced quality                               lw.l~i{~~i\lfi1~~,r~. i:ti[li\1!:1fr
                                                                                                                                                                          iij\flvlilifi. ~lii~r~~1
                                                 consuming and there is no electronic evidence of lhe audit.                -Inability to confirm lhat
                                                                                                                            activities are compliant
                                                                                                                            with agreed upon                                                                        a~.       · •1   Comment [CZ1]~ This portion is operational???
                                                                                                                            standards and protocols
                                                                                                                            -Inconsistent reporling of                    Incorporate the standard protocols into a
                                                                                                                            results can cause                             matter management system that can track
                                                                                                                            oversight to potential                        self-audil findings and generate audit reports,
~.                   •      .I      •        I                                                                              issues                                        results and scores.                             t
    · ·                  . Assigned to:          Mays
RANKING:
                                                                                  ?QC~= Group A, Can be addressed Operationally

                     Select Priority: _)_(_)_(_)5_ High               Medium            Low          NA                     Select Category: _)_(_/5_~_ Must Do          Like to Do       Do Not Need to Do

                                                                                          ?i~~. Group B,     Requires an IT Solution

                     Select Priority:_ High JQ\)( Medium                           Low          NA                 Select Category:_)_(_)(,)( Must Do       Like to Do      Do Not Need to Do

NOTES:




                                                                                                                                                                                            August 25, 2015




HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                                                   ABDCMDL00250030
                                                Case: 1:17-md-02804-DAP Doc #: 2557-44 Filed: 08/30/19 9 of 41. PageID #: 412389




A me risourceBergen Corporation
CSRA Process Review- Findings Matrix

ID No.   Affected      Category    Findings & Observations                                                         Gaps & Risks                Potential       Recommendations
         Area &                                                                                                                                Business
         Activity                                                                                                                              Impact
8        Regulatory    Processes   There are inconsistencies between distribution centers in the processes         -Inconsistencies 1n         Green           Inventory and evaluate the tools and reports
         OJersight -               for completing required activities. These are exacerbated because there         executing established                       currently used by the corporate and local staff
         Compliance                is limited interaction between distribution centers or across regions In        processes                                   and facilitate better collaboration and
                                   addition, there are inconsistencies in how the facilities access and            -No regularized review of                   communication between distribution centers
                                   consume information to support their compliance activities. For example,        what works and what                         to identify and implement best practices.
                                   inventory adjustment reports can be customized so currenlly look                doesn't in order Jo drive
                                   different for different dislribution centers which could lead lo inconsistent   best practices
                                   application of review standards.
               ·• Assigned to:     Mays
RANKING:
                                                                       ?!..~.~ Group A, Can be addressed Operationally

                Select Priority:_ High XXX Medium                      Low           NA                  Select Category: XXX Must Do             Like to Do      Do Not Need to Do

                                                                               _ Group B, Requires an IT Solution

                Select Priority:_ High              Medium            Low           NA                  Select Category:_ Must Do              like to Do _Do Not Need to Do

NOTES:




                                                                                                                                                                                 August 25. 2015




HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                ABDCMDL00250b31
                                                   Case: 1:17-md-02804-DAP Doc #: 2557-44 Filed: 08/30/19 10 of 41. PageID #: 412390




A me risourceBergen Corporation
CSRA Process Review-Findings Matrix

ID No.        Affected       Category   Findings & Observations                                                       Gaps & Risks                  Potential      Recommendations
              Area &                                                                                                                                Business
              Activity                                                                                                                              Impact
9             Regulatory     Systems    Compliance training is a manual effort and seems inefficient. Training is     -Ineffective utilization of   Yellow         Leverage the Training Commtttee in order to
              0.,ersight -              conducted through in-person presentations, though there are                   lime and resources -                         review current training content and practices and
              Compliance                inconsistencies in who delivers the training. The tracking and reporting of   reduced productivity,                        evaluate whether existing online learning plattorms
                                        training records and completion rates is done manually via spreadsheet.       reduced efficiency,                          can be leveraged to administer, !rack and report
                                                                                                                                                                   on required corrpliance !raining activities as part of
                                                                                                                      reduced quality
                                                                                                                                                                   the hiring and on-boarding process managed by
                                        For example, some Compliance Managers are holding weekly trainings            -Lack of visibility lo                       Human Resources.
                                        for new associates, and even then may have lo conduct additional              associate compliance and
                                        sessions during the week. The in-person training takes multiple hours lo      no regularized review to                     At a rrinimum, creale a centralized electronic
                                        conduct and also involves 20 page paper tests that need to be manually        drive best practices                         database or system for !racking and reporting
                                        completed and scored.                                                                                                      associale slalus and compliance with !raining
                                                                                                                                                                   requirements.
                                        Turnover at the warehouse also makes training more of a major
                                        challenge as there is an increased need to train additional associates.                                                    Define and enforce remedial action steps if a
                                                                                                                                                                   v.orker does not fulfill their training requirements
                                                                                                                                                                   and/or does not corrplete mandatory training in
                                                                                                                                                                   the required timeframe .
     . ·.   •·.·
                        Assigned to:    Mays
RANKING:
                                                                           X~~- Group A, Can be addressed Operationally

                     Select Priority:_ High       XJQ\ Medium             Low           NA                 Select Category: XXX Must Do               Like to Do      Do Not Need to Do

                                                                                 XX~ Group B, Requires an IT Solution

                     Select Priority:_ High X2.<.X Medium                 Low           NA                 Select Category:_ Must Do X2.<.X Like to Do               Do Not Need to Do

NOTES:




                                                                                                                                                                                        August 25, 2015




HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                           ABDCMDL00250032
                                              Case: 1:17-md-02804-DAP Doc #: 2557-44 Filed: 08/30/19 11 of 41. PageID #: 412391




A me risourceBergen Corporation
CSRA Process Review-Findings Matrix

JD No.   Affected       Category   Findings & Observations                                                     Gaps & Risks                      Potential       Recommendations
         Area &                                                                                                                                  Business
         Activity                                                                                                                                Impact
10       Regulatory     People     CSRA team members sometimes assume responsibilities that are not            --Ineffective alignment and       Green/Yell ow   Oeveloo master list of responsibitnies for the
         O.,ersight -              "compliance related" because !hey feel compliance has the most al stake     allocation of resources and                       Compiance Managers and Clerks, including
         Compliance                (since CSRA is responsible for maintaining the facility licenses and        expertise                                         tactical guidance for oompleling activities that
                                   reporting losses to the DEA) and believe they are best suited to ensure     -Opoortunity for things to fall                   need to be performed on a daily, weekly, monthly,
                                                                                                               through the cracks if                             annual basis and levels or authority and autonomy
                                   things are done correctly. For example, certain customer claims related
                                                                                                               resp:insibilities are not                         for making decisions.
                                   lo shortages should be investigated by the Inventory Manager in lhe first   dearly defined
                                   ins lance because lhey would have more direct access lo receiving and       -D~fioult to drive                                It is also important to ensure that Compiance
                                   inventory records.                                                          oonsistencies when                                Managers are not auditing their own areas of
                                                                                                               governance and processes                          resp:insibility so CSRA should 1'.0rk with
                                   Having the Compliance Managers report into CSRA instead of                  are not weA estabtished                           Operations in delining those responsibtlities.
                                   Cperalions has helped to reduce the operational tasks Iha! Compliance       -No regularized review of
                                   Managers and Clerks are asked to perform, but there is some lingering       what works and what doesn't                       Work with Operations to change the mentality that
                                   confusion about the roles and responsibilities of the Compliance            in order to drive best                            anything 'oontrolled· is the responsibility or CSRA
                                                                                                               practices                                         and instead enoourage associates to focus on the
                                   Manager at lhe distribution center.
                                                                                                                                                                 nature of the question or issue to deternine who 1s
                                                                                                                                                                 best to address the request.
                   Assigned to:    Mays
RANKING:
                                                                     XX~ Group A, Can be addressed Operationally

                Select Priority: XXX High          Medium           Low          NA                  Select Category: XXX Must Do                  Like to Do       Do Not Need to Do

                                                                            _ Group B, Requires an IT Solution

                Select Priority:_ High             Medium           Low          NA                 Select Category:_ Must Do                    Like to Do _Do Not Need to Do

NOTES:




10                                                                                                                                                                                   August 25, 2015




HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                      ABDCMDL00250.033
                                            Case: 1:17-md-02804-DAP Doc #: 2557-44 Filed: 08/30/19 12 of 41. PageID #: 412392




A me risourceBergen Corporation
CSRA Process Review-Findings Matrix

ID No.   Affected     Category    Findings & Observations                                                       Gaps & Risks                          Potential          Recommendations
         Area &                                                                                                                                       Business
         Activity                                                                                                                                     Impact
11       Regulatory   People      The consolidation of the VP and Opera lions and the Cperations Manager        -lnelfective alignment and            Green              Work with Operations to define the roles and
         Oversight-               roles into the Director of Cperations funclion also had a downstream          allocation ol resources and                              responsibilities ol the Compliance Managers and
         Compliance               impact on compliance. In addition to the loss of a resource at the facility   expertise                                                the Directors or Operations, induding their
                                  that had involvement in compliance-related activities, the Directors of       -Inefficient utilization or lime                         obftgalions as it relates lo compiance activities at
                                                                                                                and resources and potential                              the facilities.
                                  Cperallons have a lot of responsibilities (including picking, packing and     for dupftcation or efforts
                                  shiooina) so do not have as much time to focus on compliance.
                 Assigned to!
RANKING:
                                                                     XXX Group A, Can be addressed Operationally

               Select Priority:_ High ~\~ Medium                    Low           NA                  Select Category:_ Must Do                    :><.M. Like   to Do      Do Not Need to Do

                                                                            _ Group B, Requires an IT Solution

               Select Priority:_ High             Medium            Low          NA                  Select Category: _ Must Do                       Like to Do _Do Not Need to Do

NOTES:




11                                                                                                                                                                                            Aueust 25, 2015




HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                               ABDCMDL00250034
                                             Case: 1:17-md-02804-DAP Doc #: 2557-44 Filed: 08/30/19 13 of 41. PageID #: 412393




A me risourceBergen Corporation
CSRA Process Review-Findings Matrix

ID No.   Affected      category   Findings & Observations                                                      Gaps & Risks                       Potential   Recommendations
         Area &                                                                                                                                   Business
         Activity                                                                                                                                 Impact
12       Regulatory    People     Centralization of Customer Care presented certain challenges because         --1 neffeclive alignment and       Green       Provide ad:litional training and guidanoo to
         Oversight -              the associates are not as knowledgeable about the customers or their         allocation of resources and                    Customer Care associates, and ensure that they
         Compliance               issues. For example, when a customer calls in a claim for product            expertise                                      are re-educated when there are procedural
                                  shortage, the Customer Care Associate may not ask all of the necessary       -Inefficient utilization of time               changes that may impact customers. For example,
                                                                                                               and resources and potential                    develqi a cllecklist of questions to ask when
                                  questions to collect the relevant information. As a result, the Compliance
                                                                                                               for dupfication of efforts                     follo\\ing up on a customer claim alleging product
                                  Managers have had to assume certain responsibilities and activities Iha!                                                    loss.
                                  used lo fall to the local customer representatives.
                                                                                                                                                              Consider mether to have Customer Care
                                                                                                                                                              associates that are dedicated to handling
                                                                                                                                                              controlled substance inquiries .
                 . Assigned to:   Mays
RANKING:
                                                                     ~-><.>< Group A, Can be addressed Operationally

                Select Priority:_ High )(_1\)( Medium               Low          NA                  Select Category:_ Must Do )(_)()( Like to Do _Do Not Need to Do

                                                                            _ Group B, Requires an IT Solution

                Select Priority:_ High            Medium            Low          NA                  Select Category:_ Must Do                    Like to Do _Do Not Need to Do

NOTES:




12                                                                                                                                                                               August 25, 2015




HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                  ABDCMDL00250b35
                                                   Case: 1:17-md-02804-DAP Doc #: 2557-44 Filed: 08/30/19 14 of 41. PageID #: 412394




A me risourceBergen Corporation
CSRA Process Review-Findings Matrix

ID No.           Affected     Category   Findings & Observations                                                     Gaps &Risks                          Potential        Recommendations
                 Area &                                                                                                                                   Business
                 Activity                                                                                                                                 Impact
13               Regulatory   People     Centralization of the Human Resources function has made certain             --1 neffective alignment and         Green            Provide additional training and guidance to Human
                 OJersight-              activities, such as on boarding new associates and pulling associate        allocation of resources and                           Resources associates, and ensure lhat lhey are
                 Compliance              records, more challenging than when the function existed at the             expertise                                             re-educated when lhere are procedural changes
                                         distribution center. For example, when requesting associate files to        -Inefficient utilization of time                      that may impact associate tracking. For example,
                                                                                                                     and resources and potential                           develop a checklist of documents to provide when
                                         support an audit or investigation, it can take a long time to receve
                                                                                                                     for duplication of efforts                            a personnel file is requested.
                                         requested information and often not all of the requisite information is
                                         provided in the first instance .
     ... .   .
                         Assigned to:    Mays
RANKING:
                                                                             XXX Group A, Can be addressed Operationally

                       Select Priority:_ High ~~-~ Medium                   Low           NA                  Select Category:_ Must Do                 ~Xl!: Like to   Do _Do Not Need to Do

                                                                                    _ Group B, Requires an IT Solution

                       Select Priority: __ High          Medium             Low          NA                  Select Category:_ Must Do                     Like to Do       Do Not Need to Do

NOTES:




13                                                                                                                                                                                            August 25, 2015




HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                              ABDCMDL00250036
                                                  Case: 1:17-md-02804-DAP Doc #: 2557-44 Filed: 08/30/19 15 of 41. PageID #: 412395




A me risourceBergen Corporation
CSRA Process Review- Findings Matrix

ID No.   Affected      Category       Findings & Observations                                                          Gaps & Risks                         Potential        Recommendations
         Area &                                                                                                                                             Business
         Activity                                                                                                                                           Impact
14       Regulatory    People         Centralization of the Transportation function has also presented                 -I nelfective alignment and          Green            Provide additional !raining and guidance to
         OJersight -                  challenges. The Transportation Managers are often nol responsive to              allocation of resources and                           Transportation Managers regarding their rote and
         Compliance                   inquines. leaving the Compliance Managers to assume the                          expertise                                             responsibilities related to investigations and other
                                      responsibilities that used lo belong to the local transportation associates      -Inefficient utilization of lime                      corrpliance activities. inciuding guidance on v.tio
                                                                                                                       and resources and potential                           to contact and what information lo prOV1de
                                      particularly as it relates to investigations. On the flip side, Transportation
                                                                                                                       for duplication of efforts
                                      Managers sometimes do not understand how and when lo notify CSRA
                                      when there is a suspected loss of controlled substances
                  Assigned.to:    I   Mays
RANKING:
                                                                           XXX Group A, Can be addressed Operationally

                Select Priority:_ High           1\X..~ Medium            Low           NA                   Select Category:_ Must Do                    .K~.K Like to   Do _Do Not Need to Do

                                                                                   _ Group B, Requires an IT Solution

                Select Priority: _ High                Medium             Low           NA                   Select Category:_ Must Do                       Like to Do _Do Not Need to Do

NOTES:




14                                                                                                                                                                                                August 25, 2015




 HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                                  ABDCMDL00250037
                                                       Case: 1:17-md-02804-DAP Doc #: 2557-44 Filed: 08/30/19 16 of 41. PageID #: 412396




 A me risourceBergen Corporation
 CSRA Process Review-Findings Matrix

 ID No.   J   Affected      Category    J   Findings & Observations                                                       Gaps & Risks                           Potential     Recommendations
              Area &                                                                                                                                             Business
              Activi_ty_                                                                                                                                         lmp_act
 15           Regulatory    Processes   I   Many deficiencies may be due to process short-cuts taken at the                 -Conflicting priorities could        Yellow         Review the associate incentive and award
              OJersight -                   distribution centers byassociates tryin_g t1J_ a<:~ie~e certain performance     result in addttional risk                           programs at the distribution centers to ensure the
              Compliance                                                                                                    -Limits abiity to head off                          goals align v.1th the organizational goals and



                                           iii~   i if
                                                     .a!~~~
                                                                                                                                                                                                                                        { Formatted: Highlight
                                                                                                                           ·issues that may present· · - - - +                 ·complrance:relatedrequirements: ·Coordinate" l'<ith -
                                                                                                                            compliance challenges                               Operations in terms of assessing the business and




                                        ·'- '- - --------------====~
                                                                                                                            -Quality assurance may be                           service level impacts of any changes that are
                                                                                                                          :i_eqiardized----               --+                  made toJncentille programs - _ _ _ _ _ . _                Comment [CZ2]: Not sure this is an issue,see
                                                                                                                                                                                                                                         Notes below
'----"'"--~-A
            :...:=
                 ss~ig~n~
                        ed t_o:             Mays
  RANKING:
                                                                                ?5.~-~ Group A, Can be addressed Operationally
                     Select Priority:_ High X./</<           Medium            Low           NA                  Select Category:_ Must             Do     /<./</<   Like to Do _Do Not Need to Do

                                                                                       _ Group B, Requires an IT Solution

                     Select Priority:_ High                 Medium             Low           NA                  Select Category:_ Must            Do            Like to Do     Do Not Need to Do

 NOTES: _ _t_am_not sure this is an issue. __ CSRA_has its_interest to.ensure compliance and Operations has.its goal to efficient .. CSRA's incentive_Plan_has nothing_to_do
 w.!!.h Operations .~ff!_c;!~n!;Y.,




 15                                                                                                                                                                                                 August 25, 2015




 HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                                                      ABDCMDL00250038
                                                   Case: 1:17-md-02804-DAP Doc #: 2557-44 Filed: 08/30/19 17 of 41. PageID #: 412397




     A me risourceBergen Corporation
     CSRA Process Review- Findings Matrix

     ID No.   Affected      Category    Findings & Observations                                                        Gaps & Risks                   Potential   Recommendations
              Area &                                                                                                                                  Business
              Activity                                                                                                                                Impact
     16       Regulatory    Processes   CSRA is often not consulted or involved in organizational initiatives or       -umts abiity to head off       Yellow      Need better processes and governance around
              Oversight -               business strategy discussions until late in the cycle of projects, making it   issues that may present                    the rules of engagement v.ith CSRA- lMlen and
              Compliance                appear that compliance is sometimes an afterthought. For example, the          complia nee challenges                     how to include CSRA in the conversation. For
                                        centralization of certain support services such as Customer Care and                                                      exarrple, CSRA should be involved ,n inilial
                                                                                                                                                                  playbool< meetings to understand and evaluate
                                        Human Resources did not seem to contemplate the downstream impact
                                                                                                                                                                  any potenlial complianoe considerntions and
                                        on compliance (e.g., local knowledge of the associates and delayed                                                        determine whelher CSRA should be part of the
                                        delivery of requested materials and information).                                                                         project team .
 ,
.. ... · ..           . .Ms,gnetjfo:    Mays
     RANKING:
                                                                            ~X~ Group A, Can          be addressed Operationally

                     Select Priority:_ High        XXX Medium              Low           NA                  Select Category:_ Must              Do XXX Like to Do _Do Not Need to Do

                                                                                   _ Group B, Requires an IT Solution

                     Select Priority:_ High             Medium             Low           NA                  Select Category:_ Must Do                Like to Do _Do Not Need to Do

     NOTES:




     16                                                                                                                                                                             August 25, 2015




     HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                            ABDCMDL00250'039
                                                       Case: 1:17-md-02804-DAP Doc #: 2557-44 Filed: 08/30/19 18 of 41. PageID #: 412398




  A me risourceBergen Corporation
  CSRA Process Review-Findings Matrix

   ID No. I Affected          Category        Findings & Observations                                                  Gaps &Risks                        Potential    Recommendations
            Area &                                                                                                                                        Business
            Activi_ty_                                                                                                                                    lmp_act
11 17       Regulatory
            CNersight -
            Compliance
                          I   Processes       There is a general impression within CSRA that any "significant
                                              information" needs to be documented and tracked, but no clear guidance
                                              on what this means or how to do so.
                                                                                                                       -Lack of visibilily to issues or
                                                                                                                       incidenls not caplured
                                                                                                                                                          Red
                                                                                                                                                                      ~;:t~~=~~~11~~::;~w:~I~~ _                                Formatted: Highlight
                                                                                                                                                                                                                            - ·"' Comment [CZ3]: I believe this is an operation
                                                                                                                                                                       Distribution Center Compliance Managers need to         issue as wetl, I thought we had P&Ps about
                                                                                                                                                                                                                               documcritation???
                                                                                                                                                                       have controlled access to any matter management
                                                                                                                                                                       system so that lhey can enler information lhal can
                                                                                                                                                                       be reviewed by corporate. For exarrpls, there can
                                                                                                                                                                       sometimes be hundreds of ernats going back and
                                                                                                                                                                       forth regarding an investigation.
                   . Assigned to:         I   Mays
  RANKING:
                                                                             XXX_ Group A, Can be addressed Operationally

                  Select Priority: _/9.Q<_ High                  Medium           Low           NA                     Select Category: -~~X Must Do                  Like to Do        Do Not Need to Do

                                                                                    XXX Group B, Requires an IT Solution

                  Select Priority:_ High ~l~ Medium                           Low          NA               Select Category:_ Must Do ~XX Like to Do                     Do Not Need to Do

  NOTES:




  17                                                                                                                                                                                      August 25, 2015




  HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                                             ABDCMDL00250040
                                                    Case: 1:17-md-02804-DAP Doc #: 2557-44 Filed: 08/30/19 19 of 41. PageID #: 412399




A me risourceBergen Corporation
CSRA Process Review - Findings Matrix

ID No. I Affected          Category   I   Findings & Observations                                                      Gaps & Risks                       Potential    Recommendations
         Area &                                                                                                                                           Business
         Activi_ty_                                                                                                                                       Impact
18       Regulatory    I   Systems        There are many forms and checklists that have to be completed at the         -Ineffective utilization of lime   Green                                                            ( Formatted: Highlight
         OJersight -                      distribution center. Currently, most are completed manually and paper        and resources - reduced
         Compliance                       copies are stored at the location. While certain information will continue   productivity, reduced                           ii{~Tu~~iciffu1:~Md'iJalJJi~~w
                                          to need to be tracked manually (e.g., DEA Form 222s), other documents        efficiency, reduced quality                     W8iiliir@ri\~1¢faiiiM~~;;reif ·. · ·.·.· ·           Comment [CZ4]: Operation function as well
                                          could be transitioned to electronic form (e.g., safety checklists)                                                                                                                Formatted: Highlight
                                                                                                                                                                       Complance Managers are mobile, as certain
                                                                                                                                                                       duties require them to walk around the warehouse
                                                                                                                                                                       facility. Consider providing Compliance Managers
                                                                                                                                                                       v.ilh iPads or tablets so that information can be
                                                                                                                                                                       collected contemporaneously and electronica!y
                                                                                                                                                                       'Millen to a database for access and reporting.
                  Afu; !gn'ed to:     J   Mays
RANKING:
                                                                           XXX     . Group A, Can be addressed Operationally

                Select Priority:_ High XXX                     Medium            Low           NA                      Select Category:         ?S.¥._ Must Do        Like to Do        Do Not Need to Do

                                                                                   XXX Group B, Requires an IT Solution

                Select Priority:_ High XX25. Medium                         Low           NA                 Select Category:_ Must Do 25_~ Like to Do                   Do Not Need to Do

NOTES:




18                                                                                                                                                                                        August 25, 2015




HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                                          ABDCMDL00250'041
                                                       Case: 1:17-md-02804-DAP Doc #: 2557-44 Filed: 08/30/19 20 of 41. PageID #: 412400




A me risourceBergen Corporation
CSRA Process Review- Findings Matrix

ID No.            Affected       Category    Findings & Observations                                                  Gaps & Risks                  Potential    Recommendations
                  Area &                                                                                                                            Business
                  Activity                                                                                                                          Impact
19                Regulatory     Processes   There are no uniform reporting tools or templates within CSRA or         --Inconsistencies 111         Yellow      Inventory and evaluate the tools and reports
                  Overs ighl -               governance around what needs to be reported to whom For example.         executing established                     currently used by CSRA personnel. Evaluale what
                  Compliance                 the Distribution Center Compliance Managers have developed their own     processes                                 infonmation can be standardized across locations
                                             tracking spreadsheets lo manage and monitor regulatory compliance        -No regularized review of                 and what can be variable. Where a~licable,
                                                                                                                      what works and what doesn't               develq:, a more formalized and consistent protocol
                                             activities, such as DEA submissions, inventory adjustments, monitoring
                                                                                                                      in order to drive best                    through which inforrrelion and results are centrally
                                             tasks, associate training and facility licensure.                        practices                                 collected. reported and certified to.
            ...
     •.•.                  Assigned to:      Mays
RANKING:
                                                                              ~X~ Group A,       Can be addressed Operationally

                         Select Priority:_ High ~XX Medium                   Low          NA                 Select Category:_ Must Do XXX Like to Do              Do Not Need to Do

                                                                                     _ Group B, Requires an IT Solution

                         Select Priority:_ High             Medium           Low          NA                Select Category:_ Must Do               Like to Do __ Do Not Need to Do

NOTES:




19                                                                                                                                                                                  August 25, 2015




HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                      ABDCMDL00250042
                                                   Case: 1:17-md-02804-DAP Doc #: 2557-44 Filed: 08/30/19 21 of 41. PageID #: 412401




     A me risourceBergen Corporation
     CSRA Process Review- Findings Matrix

     ID No.   Affected      category     Findings & Observations                                                    Gaps & Risks                     Potential     Recommendations
              Area &                                                                                                                                 Business
              Activity                                                                                                                               Impact
     20       Regulatoiy    Processes    CSRA is responsible for maintaining the facility licenses (DEA, State      --Allo'Mng a license to expire   Red           Maintain and monitor faciltty licenses through an
              Oversiqht -                Boards of Pharmacy, etc.), but currenlly tracks all licenses and related   or not understanding                           electronic system thal triggers alerts when
              Compliance                 requirements on spreadsheets. The license is what allows the location to   changes to the requiremenls                    licenses need to be renewed and references the
                                         do business so the lack of controls around this process presents a         risks shutting 00~1 the                        regulatory requirements associated 'Mth that
                                                                                                                    facility                                       particular license.
                                         ~nificant risk to the organization.
                      .· Assigned to:    Mays
                                                                                                                                                                                                                       -
.·
     RANKING:
                                                                            _ Group A, Can be addressed Operationally

                     Select Priority: __ High            Medium           Low          NA                 Select Category:_ Must Do                   Like to Do    Do Not Need to Do

                                                                                 ~~-~ Group B, Requires an IT Solution

                     Select Priority:   t~~ High         Medium           Low          NA                 Select Category:_)_(,~_)_(, Must Do          Like to Do _Do Not Need to Do

     NOTES:




     20                                                                                                                                                                                August 25, 2015




      HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                    ABDCMDL00250043
                                                          Case: 1:17-md-02804-DAP Doc #: 2557-44 Filed: 08/30/19 22 of 41. PageID #: 412402




A me risourceBergen Corporation
CSRA Process Review-Findings Matrix

ID No.   I   Affected          Category    I   Findings & Observations                                                       Gaps &Risks                    Potential    Recommendations
             Area &                                                                                                                                         Business
             Activi.!¥_                                                                                                                                     Impact
21           Regulatory    I   Processes       CSRA has experienced challenges in maintaining the state regulatory          --Nol dear who is               Red                                                              ( Formatted: Highlight




                                                                                                                                                                        -
             Oversiqht -                       matrix, which tracks licensure, reporting and other miscellaneous            responsible for maintaining
             Compliance                        requirements and is currenlly housed in a spreadsheet and periodically       requrerrents
                                               updated through manual review. Currently, CSRA resources are                 -Lack of corrµiance with
                                                                                                                            state or federal requirements                                                                    ( Comment [CZS]: Operational as well
                                               responsible for updating the matrix but may nol have the necessary
                                                                                                                            -Ineffective alignment and                   establish an electronic version in a centralized
                                               access to information or expertise to interpret regulatory obligations and   allocation of resources and                  location where requiremenls can be 1TXJnitored,
                                               requirements For example, a Compliance Manager may reach out to              expertise                                    updated and aocessed as appropriate, using a
                                               their stale representative to inquire about state requirements and either                                                 repeatable process and ensuring visibility to any
                                               not receive a resp_onse or receive incorrect information.                                                                 char,g_es that are rrace.
                      Asslgned to:             Mays
RANKING:
                                                                                  XXX Group A, Can be addressed Operationally

                    Select Priority: _XXX              High         Medium            Low           NA                      Select Category: XXX            Must Do     Like to Do _Do Not Need to Do

                                                                                        XXX Group B, Requires an IT Solution

                    Select Priority: ./_(_).QI High            Medium            Low           NA                 Select Category: ./.<./S./.<. Must Do       Like to Do _Do Not Need to Do

NOTES:




21                                                                                                                                                                                           Aueust 25, 2015




HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                                            ABDCMDL00250044
                                                       Case: 1:17-md-02804-DAP Doc #: 2557-44 Filed: 08/30/19 23 of 41. PageID #: 412403




A me risourceBergen Corporation
CSAA Process Review - Findings Matrix

ID No.         Affected        Category    Findings & Observations                                                        Gaps & Risks                      Potential    Recommendations
               Area &                                                                                                                                       Business
               Activity                                                                                                                                     Impact
22             Regulatory      Processes   Nolificaltons of employee terminations from Human Resources shared             -Terminated errployee Yo1lh       Red          lndude Compliance Managers on the terminations
               OJersight -                 services function are not distributed to all relevant parties. Specifically,   access to the facility presents                distribution list and explore better coordination WTth
               Compliance                  the Compliance Managers are not on the email distribution so may be            a risk for theft or violence                   Hurrnn Resources 10 mligate the risk associated
                                                                                                                                                                         \'.1th tenminations.
                                           delayed in receiving notification of terminations even though they are
                                           resoonsible for building security and badge access
·· ..   ·.·.        •.
                          A~sigrted t~:    Mays
                                                                                                                                             ----
RANKING:
                                                                                XXX Group A, Can be addressed Operationally

                         Select Priority:~-~~ High          Medium             Low           NA                   Select Category: 2(X.X Must        Do        Like to Do _Do Not Need to Do

                                                                                        _ Group B, Requires an IT Solution

                         Select Priority:_ High             Medium             Low           NA                   Select Category:_ Must Do                 Like to Do   Do Not Need to Do

NOTES:




22                                                                                                                                                                                            August 25, 2015




 HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                                ABDCMDL00250045
                                                  Case: 1:17-md-02804-DAP Doc #: 2557-44 Filed: 08/30/19 24 of 41. PageID #: 412404




A me risourceBergen Corporation
CSRA Process Review - Findings Matrix

ID No.        Affected      Category    Findings & Observations                                                  Gaps & Risks                   Potential    Recommendations
              Area &                                                                                                                            Business
              Activity                                                                                                                          Impact
23            Regulatory    Processes   There is no clear guidance wilh respect to how CSRA is supposed lo       -Difficull lo implement        Yellow       Provide better definition around the roles of
              CNersight -               engage in customer communications. As a general rule, the Compliance     sustained infrastructure and                engaging Yo1th customers Customer Care
              Compliance                Managers are not supposed to reach out to customers - communications     other process improvements                  assodates are trained to deal \\ith customers so
                                        are supposed lo go through either Customer Care or the business          -Prevenl resources from                     should be handling those oornmunications, but
                                                                                                                 focusing on assigned                        need to be betler trained on the questions to ask
                                        leadership (in the case of ABSG). However, some facilities contact the
                                                                                                                 projects and ensuring                       and the information to collect when outread1ing on
                                        customers directly because it is more efficient than working through     oompliance                                  behatt of CSRA.
                                        Customer Care or corporate resources which can lead lo inconsistent
                                        messaging to customers.                                                                                              Consider whether to have Customer Care
                                                                                                                                                             associates that are dedicated to handling
                                                                                                                                                             controlled substance inquiries .
     . .. .
                       Assigned to:     Mays
RANKING:
                                                                         ?PP~ Group A, Can       be addressed Operationally

                     Select Priority:_ High ~)Q< Medium                 Low          NA                Select Category:_ Must Do t~?\ Like to Do                Do Not Need to Do

                                                                               _ Group B, Requires an IT Solution

                     Select Priority:_ High            Medium           Low         NA                Select Category:_ Must Do                 Like to Do   Do Not Need to Do

NOTES:




23                                                                                                                                                                              August 25, 2015




HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                 AB0CMDL00250046
                                                Case: 1:17-md-02804-DAP Doc #: 2557-44 Filed: 08/30/19 25 of 41. PageID #: 412405




A me risourceBergen Corporation
CSRA Process Review-Findings Matrix

ID      Affected Area    Category     Findings & Observations                                                                Gaps & Risks                        Potential       Recommendations
No.     &Activity                                                                                                                                                Business
                                                                                                                                                                 Impact
24      Investigations   Systems      Investigations are currently tracked in RMS. However, the system does not              -Ineffective utilization of time    Red             lrrplement a customized and centralized matter
                                      provide lhe necessary functionality to meet the needs of the CSRA                      and resources- reduced                              management solution to address the
                                      Investigations team. Specific deficiencies of the system indude, but are not           produdMty, reduced                                  corrprehensive needs of the CSRA team. lndude
                                      limited to, the fotlo'hing:                                                            efficiency, reduced quality                         in the system requirements any required or
                                      -Compliance Managers do not have access to open a matter or enter                      -lncorrplete or inaccurate                          desired functionality that is not available in the
                                      intormafion relevant to the matter.                                                    intormafton recorded in the                         current system.
                                      --Unable to add supplemental information to dosed investigations in RMS. The           system
                                      investigator either has to reopen a dosed investigation and resubnit it for            -Lack of visibility to historical                   For example. provide a user-friendly online.
                                      dosure or create a new matter to track the ad:iitional information.                    or related information that                         generic Iorrn that is accessible to all CSRA
                                      -RMS does not allow for the linking of related matters.                                may impact the investigation                        resources (e.g., the Corrpliance Managers), to
                                      --There is limited information that can be entered for a matter. For exarrple, only                                                        open a matter and route it for investigators.
                                      one product can be designated on the matter so the investigator would have to
                                      create separate matters if there v.ere multiple products impacted by a theft.
                                      -Cannot reach broadly across all active and historical investigations and related
                                      CSRA matters.
                                      -Reporting is limited, which reduces visibility to potential trends and issues.

                    Assigned fo:      Bruce Guncl,'
RANKING:
                                                                            _ Group A, Can be addressed Operationally

                Select Priority:_ High                Medium              Low            NA                     Select Category:_ Must Do                        Like to Do       Do Not Need to Do

                                                                                  _X_ Group B, Requires an IT Solution

               Select Priority: _X_ High                Medium              Low            NA                               Select Category: _X_ Must Do                     Like to Do       Do Not Need to Do

NOTES:




24                                                                                                                                                                                                   August 2S, 2015




 HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                                    ABDCMDL00250'047
                                                Case: 1:17-md-02804-DAP Doc #: 2557-44 Filed: 08/30/19 26 of 41. PageID #: 412406




A me risourceBergen Corporation
CSRA Process Review - Findings Matrix

ID      Affected Area     Category      Findings & Observations                                                          Gaps & Risks                       Potential    Recommendations
No.     &Activity                                                                                                                                           Business
                                                                                                                                                            Impact
25       Investigations   Systems    Investigations activities. status and resulls are manually tracked through Excel    -Ineffective ulilization of time   Green        Implement a customized and centralized matler
                                     spreadsheets. As a result, there is limited aggregate reporting v.iiich prevents    and resources - reduced                         management solution to address the
                                     management from having visibUity to potential trends and issues.                    productivity, reduced                           comprehensive needs of the CSRA team. Include
                                                                                                                         efficiency, reduced quality                     in the system requirements any required or
                                                                                                                         -Lack of visibility to potential                desired functionality that is nol available in the
                                                                                                                         risks and concerns                              current system, including automated rouline and
                                                                                                                                                                         ad hoc reporting.


                    ·Assigniid to:      Bruce Gundy
RANKING:
                                                                           _ Group A, Can be addressed Operationally

                Select Priority:_ High                Medium             Low            NA                    Select Category:_ Must Do                     Like to Do   Do Not Need to Do

                                                                                 _X_ Group B, Requires an IT Solution

                Select Priority:_ High _X_ Medium                          Low           NA                             Select Category:_ Must Do _X_ Like to Do                      Do Not Need to Do

NOTES:




25                                                                                                                                                                                          August 25, 2015




HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                             ABDCMDL00250048
                                                               Case: 1:17-md-02804-DAP Doc #: 2557-44 Filed: 08/30/19 27 of 41. PageID #: 412407




      A me risourceBergen Corporation
      CSRA Process Review-Findings Matrix

      ID         Affected Area    I   Category       Findings & Observations                                                             Gaps & Risks                   Potential      Recommendations
      No.        &Activity                                                                                                                                              Business
                                                                                                                                                                        Impact
      26         Investigations   I   People         The roles and responsibilities as it relates to investigations are nol clearly
                                                     defined Notifications of custorrer daims are distributed to a group that indudes
                                                     bolh the oorporate and local CSRA learns, as well as the Director of C{)erations.
                                                                                                                                         -Difficult to implement
                                                                                                                                         sustained infrastructure and
                                                                                                                                         other process improvements
                                                                                                                                                                        Green/Yellow
                                                                                                                                                                                       m;1r~r.~it$r:,11~~~1
                                                                                                                                                                                       f6.~ \'!~\iilii/i,~@9.~~~M~1~P.~~g~!
                                                     As a result, there are inoonsistencies with respect lo wio handles the              -Prevents resources from                      liw\Jlv~•\ii.iiliy•1ijWstlg~i\W..lct\ijiii/i
                                                     investigatory aclivtties, wiich in different instances can be the Corporate         focusing on assigned
                                                     Investigators. Corrpliance Managers, Warehouse Managers, Inventory Control          projects and ensuring                         For exarrple. the Quick Incident Checklist is a
                                                     Managers and'or Transpor1a1ion Managers.                                            ccrrpliance                                   good reference tool with respect to the infomnation
                                                                                                                                         -lnenective alignment and                     that is required to be oolecied for certain types of
                                                                                                                                         allocation of resources and                   investigations, but should be expanded to address
                                                                                                                                         e_)(!)_ertise                                 all types_of investigations.
I•'                          As~)gned fo:        I   Bruce Gundy
      RANKING:
                                                                                          _ Group A, Can be addressed Operationally

                         Select Priority: _ High                     Medium              Low           NA                    Select Category:_ Must Do                  Like to Do _X_Do Not Need to Do

                                                                                                 _ Group B, Requires an IT Solution

                        Select Priority: __ High                     Medium              Low           NA                   Select Category:_ Must Do                   Like to Do _Do Not Need to Do

      NOTES:

            1.    Investigations disagrees with these findings, as claims and the claims process are not handled by Investigations.
            2.    If the findings relate to Diversion, a matter is opened in RMS.




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      26                                                                                                                                                                                                   August 25, 2015




                                                                                                                                                                                                                                                                '   I




       HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                                      ABDCMDL00250049
                                                        Case: 1:17-md-02804-DAP Doc #: 2557-44 Filed: 08/30/19 28 of 41. PageID #: 412408




A me risourceBergen Corporation
CSRA Process Review-Findings Matrix

ID      Affected Area     I   Category    I   Findings & Observations                                                                Gaps & Risks                    Potential    Recommendations
No.     &Activity                                                                                                                                                    Business
                                                                                                                                                                     lm_e;i_ct
27       Investigations   I   Processes   I   There are no dear guideines on when lo open a formal matter for potential              -lncorrple!e or potential for   Yellow
                                              incidents. II is subject lo a subjective ·reasonable person standard." For
                                              exarrple, if a product loss I quickly resolved ii v,;n not be tracked. As a result,
                                                                                                                                     inaccurate infonnahon and
                                                                                                                                     reporting.
                                                                                                                                                                                  f¾l!llf.ll~-l!i#®.
                                                                                                                                                                                  !\liii~.~l\!)ii.~~ff:1~100:Mjic;!\ijM@@IV~~!
                                                                                                                                                                                                                                   1
                                                                                                                                                                                                                                       ~ .•

                                              there is no corrple!e inventory of incidents or depiction of CSRA activities.                                                       t®.1~9-iiif\>i¼u~tfii\W/iii!Qfiijirtijfijii\Q.
                                                                                                                                                                                  ~~~~i The general sentiment is that 'losses
                                                                                                                                                                                  get reported lo Corporate Investigators when they
                                                                                                                                                                                  cannot be resolved by the distribution center.'
                                                                                                                                                                                  Consider implementing a ·quick incident log" to
                                                                                                                                                                                  record any daims or incidents that are quickly
                                                                                                                                                                                  resolved by the facility.

                     Assigned to:         I   Bruce Gundy
RANKING:
                                                                                     _X_ Group A, Can be addressed Operationally

                Select Priority:_ High                         Medium               Low             NA                     Select Category:_ Must Do                 Like to Do   Do Not Need to Do

                                                                                            _X_ Group B, Requires an IT Solution

                Select Priority:_ High                         Medium _X_ Low                         NA                            Select Category:_ Must Do _X_ Like to Do _Do Not Need to Do

NOTES:

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27                                                                                                                                                                                                    August 25, 2015




HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                                             ABDCMDL00250050
                                                   Case: 1:17-md-02804-DAP Doc #: 2557-44 Filed: 08/30/19 29 of 41. PageID #: 412409




A me risourceBergen Corporation
CSRA Process Review-Findings Matrix

ID      Affected Area    Category    J   Findings & Observations                                                             Gaps & Risks                     Potential    Recommendations
No.     &Activity                                                                                                                                             Business
                                                                                                                                                              lmpa_ct
28                                   I
                                                                                                                                                                           lillilfJitEll1i\'
        Investigations   Processes       There are no dear guidelines for when to close a matter. which may result in        -Investigations slay open for    Green
                                         matters remaining open when they are not actively being 'Ml!ked by CSRA.            longer Iha n necessary
                                                                                                                             --Incomplete or potential for
                                         For example, an invesligalion Iii!/ remain open when !he incident has been          inaccurate information and                    include in the system requirements the need for
                                         handed off lo external law enforcement until a resolution is provided or no         rfl)orting                                    triggers or alerts that remind the CSRA
                                         further updates are forthcorring. Similarly, an investigation may lag while CSRA    -Lacs of visiblity to resource                investigator to follow-~ on open investigations
                                         1s awa~ing responses or information from other ABC Deoartrrsnts (e.g.,              allocation and workload                       that they are not actively 'MJfking on a periodic
                                         Operations or Transportation). Or after an investigation has been resolved, the                                                   basis. With respect to internal communications,
                                         matter might remain open for a few weeks of ·monitoring" to ensure there are no                                                   provide expected response times to business
                                         addtional or resulting concerns.                                                                                                  partners from v.!1ich information is being
                                                                                                                                                                           requested
                   Assigned tot I        Bruce Gundy
RANKING:
                                                                             _X_ Group A, Can be addressed Operationally

               Select Priority:_ High                   Medium              Low           NA                    Select Category:_ Must              Do        Like to Do    Do Not Need to Do

                                                                                    _X_ Group B, Requires an IT Solution

                Select Priority:_ High            _X_ Medium                  Low           NA                              Select Catetory: j('~¼ust.Do             j(fae to Do _Do Not Need to Do

NOTES:

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28                                                                                                                                                                                             August 25, 2015




HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                              ABDCMDL00250U51
                                                          Case: 1:17-md-02804-DAP Doc #: 2557-44 Filed: 08/30/19 30 of 41. PageID #: 412410




A me risourceBergen Corporation
CSRA Process Review-Findings Matrix

ID         Affected Area    J   Category    J   Findings & Observations                                                                 Gaps & Risks                       I   Potential    Recommendations
No.        &Activity                                                                                                                                                           Business
                                                                                                                                                                               lm_e;i_ct
                            I               I
                                                                                                                                                                                            l!liilll1ilf!,~
29         Investigations       Processes       lnvesligalion results are manually tracked and reported. There is a general             -Ineffective utilization of time   J   Green
                                                report template that has been adCl)ted by the team (i.e., Summary statement,            and resources - reduced
                                                Investigation updates, Matter resolution, Closing statement), but it is written in a    productivity, reduced
                                                Word rncument which causes inefficiencies and inconsistencies.                          efficiency, reduced quality                         elements and templates that are adcoted by all
                                                                                                                                        -Inconsistencies in                                 team members Establish and memorialize
                                                                                                                                        executing established                               escalation procedures for reporting issues to
                                                                                                                                        processes                                           management and/or external agencies.
                                                                                                                                         -Lack of \\sibility lo issues
                                                                                                                                        that may present risk to the
                                                                                                                                        org_anization
•::;;.;.
                       As~itned fo: I           Bruce Gundy
RANKING:
                                                                                      _X_ Group A, Can be addressed Operationally

                  Select Priority:_ High                        Medium               Low            NA                     Select Category:_ Must                Do            Like to Do   Do Not Need to Do

                                                                                             _X_ Group B, Requires an IT Solution

                  Select Priority: __ High                _X_ Medium                   Low            NA                               Select Category:_ Must                  Do _X_ Like to Do _Do Not Need to Do

NOTES:

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29                                                                                                                                                                                                             August 25, 2015




HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                                            ABDCMDL00250052
                                                             Case: 1:17-md-02804-DAP Doc #: 2557-44 Filed: 08/30/19 31 of 41. PageID #: 412411




A me risourceBergen Corporation
CSRA Process Review- Findings Matrix

ID              Affected Area          Category     Findings & Observations                                                       Gaps & Risks                      Potential       Recommendations
No.             &Activity                                                                                                                                           Business
                                                                                                                                                                    Impact
30               Investigations        Systems      CSRA resources manage and track aR olher assigned tasks and activities        -lneneclive utilization of lirm   Green          lrrplement a customized and centratized matter
                                                    through email and spreadsheets (e.g., pharmacy visits, 1MJrkplace violence    and resources - reduced                          management solution to address the
                                                    inddenls, errployee terrrination meetings, etc.).                             productivity, reduced                            corrprehensive needs of the CSRA team.
                                                                                                                                  efficiency, reduced quafity
                                                                                                                                  -Inconsistencies in
                                                                                                                                  execuling established
                                                                                                                                  processes
                                                                                                                                   -Lack of visibility lo
                                                                                                                                  resource allocation and
                                                                                                                                  'Mlrkload
   .- .. -.-.· .-.-.·.. ·.
 ....... •.•.•. ·.··.·-:'.·.·     · )\ssigned fo:   Bruce Gundy
RANKING:
                                                                                        _ Group A, Can be addressed Operationally

                                Select Priority: __ High           Medium              Low           NA                    Select Category:_ Must Do                Like to Do      Do Not Need to Do

                                                                                               _X_ Group B, Requires an IT Solution

                                Select Priority:_ High _X_ Medium                        Low           NA                        Select Category: _X_ Must Do                   Like to Do _Do Not Need to Do

NOTES:




30                                                                                                                                                                                                    August 25, 2015




 HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                                  ABDCMDL00250053
                                              Case: 1:17-md-02804-DAP Doc #: 2557-44 Filed: 08/30/19 32 of 41. PageID #: 412412




A me risourceBergen Corporation
CSRA Process Review - Findings Matrix

ID No.    Affected     Category    Findings & Observations                                                             Gaps & Risks            Potential    Recommendations
          Area &                                                                                                                               Business
          Activity                                                                                                                             Impact
31        Compliance   Processes   There is limited guidance around the handling of Netv.ork Calls and the             -Inconsistencies m      Yellow       Establish specific guidance regarding the
          Complaints               institutional kncNAedge resides v.ith a single resource that manages the process.   executing established                processes for handling Network cans, induding
          (Network                                                                                                     processes                            how issues are categorized and prioritized, whc is
                                                                                                                                                            responsible for investigating the allegation, and
          Calls)
                                                                                                                                                            \\lien a resolution needs to be provided.
                  Assigheci to:    Bob Crow
RANKING:
                                                                           X Group A, Can be addressed Operationally

                Select Priority: _ High              Medium X Low                   NA                       Select Category:_ Must Do          Like to Do X Do Not Need to Do

                                                                                 _ Group B, Requires an IT Solution

                Select Priority: __ High             Medium             Low      X NA                       Select Category:_ Must Do _Like to Do           Do Not Need to Do

NOTES:

-I feel we have appropriate back-ups that understand the process. Bruce Gundy, Director of Investigations and Julie Hinman, Manager- CSRA.

-I feel adequate guidance, including categorizing and resolution, exists within Policy and Procedure for handling and processing of Compliance Complaints {Network
Calls).




31                                                                                                                                                                              August 25, 2015




HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                ABDCMDL00250054
                                                            Case: 1:17-md-02804-DAP Doc #: 2557-44 Filed: 08/30/19 33 of 41. PageID #: 412413




   A me risourceBergen Corporation
   CSRA Process Review- Findings Matrix

   ID No.            Affected     Category      Findings & Observations                                                             Gaps & Risks                      Potential       Recommendations
                     Area &                                                                                                                                           Business
                     Activitv                                                                                                                                         Impact
   32                Compliance   Systems       Netw:irk calls are entered into RMS bul subject lo manual tracking and reporting.    -Ineffective ulilization of      Green           Implement a customized and centralized matter
                     Complaints                 This leads to a time ronsuming process and ooplica«ve efforts lo oavefop the        ~me and resouroes -                               management SJlution to address the
                     (Network                   Monthly Summary Report (i.e .. Hyle Report) and the Quarterly Board Reporting       reduoed productivity,                             comprehensive needs or the CSRA learn. Develop
                     Calls)                                                                                                         reduced efficiency. reduced                       automated reports to track the number. type and
                                                                                                                                    qualtty                                           outcomes of Netw:irk Calls

1,, ,       ..·.·.     :   ·., As!iigiled to;   BobCrow
    RANKING:
                                                                  ----·-           --                      -·                                                      -- -- - - ~       --· -     -    --       -     -       - --     -
                                                                                        _ Group A, Can be addressed Operationally

                           Select Priority: __ High               Medium             Low      X NA                        Select Category:_ Must Do                     Like to Do     Do Not Need to Do

                                                                                               X Group B, Requires an IT Solution

                           Select Priority:_ High                 Medium X Low                   NA                      Select Category: X Must Do                    Like to Do _Do Not Need to Do

    NOTES:

   -Even though this is a low priority, it is a must do as the program continues to expand.




    32                                                                                                                                                                                                   August 25, 2015




        HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                               ABDCMDL00250055
                                              Case: 1:17-md-02804-DAP Doc #: 2557-44 Filed: 08/30/19 34 of 41. PageID #: 412414




A me risourceBergen Corporation
CSRA Process Review-Findings Matrix

ID No.   Affected       Category   Findings & Observations                                                         Gaps & Risks                   Potential     Recommendations
         Area &                                                                                                                                   Business
         Activity                                                                                                                                 Impact
33       Security       Syslems    Security checklists are completed on paper and reports are manually developed    -Ineffective utilization of   Yellow        Create an electronic version of the security
         Programs                  so there is limtted elecironic evidence of inspections. These muld indude lhe   lime and rescurces -                         checklists v.ithin the matter management sclulion
                                   cage and vault logs, equipment safety inspections, and quarterly burglar/fire   reduced produciivity,                        that will capture the findings and generate
                                   alarm system testing                                                            reduced efficienty. reduced                  dashbcards and reports. This will irrprove
                                                                                                                   qualtty                                      efficiencies while eliminating the manual tracking
                                                                                                                   -lncorrplete or inaccurate                   of findings.
                                                                                                                   information

         ·-
                    Assigned to:   Bob Crow
RANKING:
                                                                        _ Group A, Can be addressed Operationally

               Select Priority:_ High               Medium             Low     X NA                       Select Category:_ Must Do                Like to Do    Do Not Need to Do

                                                                                X Group B, Requires an IT Solution

               Select Priority:_ High               Medium X Low                  NA                     Select Category:       X Must Do          Like to Do     Do Not Need to Do

NOTES:

-Even though this is a low priority, it is a must do as the program continues to expand.




33                                                                                                                                                                                  August 25, 2015




HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                    ABDCMDL00250056
                                                Case: 1:17-md-02804-DAP Doc #: 2557-44 Filed: 08/30/19 35 of 41. PageID #: 412415




A me risourceBergen Corporation
CSRA Process Review- Findings Matrix

ID No.   Affected       Category    Findings & Observations                                                           Gaps &Risks                     Potential     Recommendations
         Area &                                                                                                                                       Business
         Activity                                                                                                                                     Impact
34       Security       Systems     Tracking and monitoring background checks is a very manual and inefficient         -Ineffective utilization of    Yellow        Autorrate the procedures for tracking, monitortng
         Programs                   process. CSRA currently tracks the requirements, corroleton, results related to   time and resources -                          and reporting on background Checks. Evaluate
                                    background checks via spreadsheet. 1Mth a monthly upload to RMS                   reduced productivity,                         'Mlether there is opportunity for coordination 1Mth
                                                                                                                      reduced efficiency. reduced                   Hurren Resources to trigger annual requirements
                                                                                                                      qualtty                                       Consider 'Mlether there is a need to evaluate
                                                                                                                      -Incorrpete or inaccurate                     allemafe background screening vendors.
                                                                                                                      information could result in
                                                                                                                      hiring of exduded individuals
              ..
                   . Assigned to:   Bob Crow
RANKING:
                                                                           _ Group A, Can be addressed Operationally

               Select Priority: _ High               Medium              Low      X NA                       Select Category:_ Must Do                 Like to Do    Do Not Need to Do

                                                                                  X Group B, Requires an IT Solution

               Select Priority:_ High X Medium                         Low           NA                     Select Category:_ Must Do X Like to Do                  Do Not Need ta Do

NOTES:




34                                                                                                                                                                                      August 25, 2015




HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                         ABDCMDL00250'057
                                                Case: 1:17-md-02804-DAP Doc #: 2557-44 Filed: 08/30/19 36 of 41. PageID #: 412416




A me risourceBergen Corporation
CSRA Process Review-Findings Matrix

ID No.   Affected       Category    Findings & Observations                                                             Gaps & Risks                       Potential     Recommendations
         Area &                                                                                                                                            Business
         Activity                                                                                                                                          Impact
35       Security       Systems     Security matlers are nol oocurrenteo in a centralized location. For example,        -Lack of visibility to aft tasks   Green         Implement a rustomized and centralized matter
         Programs                   facility expansions are tracked on the share drive but not recorded in RMS. Other   and actrvit1es to rranage                        management sclution to address the
                                    activities such as background checks are tracked both in RMS and locally,           resource allocation and                          comprehensrve needs or the CSRA team
                                    resulting in duplication of efforts.                                                \\IJrkload
                                                                                                                         --Ineffective utilization or
                                                                                                                        lime and rescurces -
                                                                                                                        reduced productivity,
                                                                                                                        reduced efficiency. reduced
                                                                                                                        qualtty
          ..
                    Asi;igned to:   Bob Crow
RANKING:
                                                                           _ Group A, Can be addressed Operationally

               Select Priority:_ High                Medium              Low     X NA                        Select Category:_ Must Do                      Like to Do    Do Not Need to Do

                                                                                  X Group B, Requires an IT Solution

               Select Priority: X High              Medium             Low            NA                    Select Category: X Must Do                     Like to Do    Do Not Need to Do

NOTES:




35                                                                                                                                                                                         August 25, 2015




HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                        ABDCMDL00250058
                                              Case: 1:17-md-02804-DAP Doc #: 2557-44 Filed: 08/30/19 37 of 41. PageID #: 412417




A me risourceBergen Corporation
CSRA Process Review- Findings Matrix

ID No.   Affected     Category    Findings & Observations                                                           Gaps & Risks                   Potential   Recommendations
         Area &                                                                                                                                    Business
         Activity                                                                                                                                  Impact
36       Business     Processes   It is unclear vtiether CSRA has oversight to the remediation efforts and          -Lack of oversight to ensure   Yellow      Expand the sccoe of the Crisis Management
         Continuity               correclive actions taken in response to a business interruption.                  risks have been a~ropriately               policy.
                                                                                                                    niligated
                 . Assigned to:   Bob Crow
RANKING:
                                                                          X Group A, Can be addressed Operationally

                Select Priority: X High           Medium              Low            NA                      Select Category: X Must Do             Like to Do _Do Not Need to Do

                                                                                 _ Group B, Requires an IT Solution

                Select Priority:_ High              Medium              Low      X NA                        Select Category:_ Must Do             Like to Do _Do Not Need to Do

NOTES:

-This process is in process.




36                                                                                                                                                                               August 25, 2015




HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                          ABDCMDL00250'059
                                                  Case: 1:17-md-02804-DAP Doc #: 2557-44 Filed: 08/30/19 38 of 41. PageID #: 412418




A me risourceBergen Corporation
CSRA Process Review-F_indings Matrix

ID No.   Affected         Category    Findings & Observations                                                             Gaps & Risks                     Potential     Recommendations
         Area &                                                                                                                                            Business
         Activity                                                                                                                                          Impact
37       Business         Systems     There is no centralized tracking or automated reporting of business interruptions   -Difficult to track and report   Green         Implement a customized and centralized mailer
         Continuity                   lo provide visibility to historical incidents or status of active matlers.          on incidents and act1~ties                     management solution lo address the
                                                                                                                                                                         comprehensive needs of the CSRA team.
                      Assigried to:   Bob Crow
RANKING:
                                                                             _ Group A, Can be addressed Operationally

                Select Priority:_ High                  Medium             Low      X NA                        Select Category:_ Must Do                   Like to Do    Do Not Need to Do

                                                                                     X Group B, Requires an IT Solution

                Select Priority: X High               Medium              Low           NA                     Select Category: X Must Do                  Like to Do    Do Not Need to Do

NOTES:




37                                                                                                                                                                                         August 25, 2015




HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                        ABDCMDL00250060
                                                      Case: 1:17-md-02804-DAP Doc #: 2557-44 Filed: 08/30/19 39 of 41. PageID #: 412419




      A me risourceBergen Corporation
      CSRA Process Review-Findings Matrix

      ID No.    Affected
                Area &
                              Category    Findings & Observations                                                              Gaps & Risks                      I Potential
                                                                                                                                                                   Business
                                                                                                                                                                                  Recommendations

                Activity                                                                                                                                             Impact
      38        Other
                CSRA
                              Systems     There is no cenlralized tracking of 'other' CSRA projects and activities. Some are
                                          in RMS or LaYArac. others are documented on the share driVe and assignments
                                                                                                                               -Lack of visibility to an tasks
                                                                                                                               and activities to manage          I   Green
                                                                                                                                                                                  Implement a customized and centralized matter
                                                                                                                                                                                  management solution to address the
                Projects                  are tracked via spreadsheet.                                                         resource allocation and                            comprehensive needs of the CSRA team.
                                                                                                                               v.orkload
I,·                        Assigned to:   Francine Duncan
      RANKING:
                                                                                _X_ Group A, Can be addressed Operationally

                       Select Priority: _X_ High             Medium              Low            NA                             Select Category: _X_ Must Do                    Like to Do _Do Not Need to Do

                                                               _?_ Group B, Requires an IT Solution -To be determined; see Notes.

                       Select Priority:_ High               Medium             Low            NA                   Select Category:_ Must Do _ Like to Do                         Do Not Need to Do

      NOTES:

           1.    Concerning Operationa I Improvement - CSRA will need to determine its requirements for managing project and functional activity resource allocation and
                 workload, scheduling and reporting requirements. For example - are weekly reports required, does CSRA want to see how much time is spent on projects and
                 functional activities, does CSRA want resource time estimates when planning projects, and should resource allocation hours be included in action plans.
           2.    Concerning an IT Solution - on projects where CSRA is working with EtTS- IT does have a project management process and tool (Clarity) in place to provide
                 visibility to project tasks, and to manage resource allocation and workload. The CSRA project manager has received access, and will be learning how to use the
                 tool and collaborate with IT on managing a project and providing deliverables. Whether this tool can be used on non-IT projects needs to be determined. MS
                 Project is also another tool that is available and has resource management capabilities, and can be utilized for project and functional activity planning.
                 Additional information is needed around CSRA requirements, as well as other enterprise solutions that may be available and how they are being used for
                 resource management and scheduling- e.g., Clarity, Workday, SmartSheet, Rally, MS Project, MS Excel.
           3.    Based on comments 1 and 2, the Matter Management system would be the central repository for CSRA project documentation - e.g., charters, schedules,
                 requirements documents. After CSRA project management requirements are provided, it would need to be determined whether the Matter Management
                 System can and/or should be enabled to meet those requirements, or if another type of solution is used- e.g., Clarity or another enterprise tool or set of tools.
                 Matter Management could provide links to these. More information is needed around available tools and if associated ABC standards and practices are in
                 place.



      38                                                                                                                                                                                             August 25, 2015




       HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                          ABDCMDL00250061
                                                         Case: 1:17-md-02804-DAP Doc #: 2557-44 Filed: 08/30/19 40 of 41. PageID #: 412420                                                                                                       •




    AmerisourceBergen Corporation
    CSRA Process Review-Findings Matrix


    ID No.    I Affected
                Area &
                                   Category    Findings & Observations                                                           Gaps & Risks                      Potential
                                                                                                                                                                   Business
                                                                                                                                                                                    Recommendations

                  Activity                                                                                                                                         Impact
    39        I   Project
                  Management
                                   Processes   Still in the process of defining the project rranagement function v.ithin CSRA    -Dillicult to provide oversight
                                                                                                                                 v.ithout standards and
                                                                                                                                                                   Green            Continue to define the project management
                                                                                                                                                                                    funclion as it relates to the CSRA department,
                                                                                                                                 procedures                                         inducing the coordination v.ith IT partners.
.                              Assigned to:    Francine Duncan
    RANKING:
                                                                                    _X_ Group A, Can be addressed Operationally

                             Select Priority: _X_ High           Medium              Low            NA                          Select Category: _X_ Must Do                    Like to Do       Do Not Need to Do

                                                                                            _ Group B, Requires an IT Solution


                             Select Priority:_ High            Medium              Low      _X_NA                               Select Category: __ Must Do                    Like to Do _Do Not Need to Do

    NOTES:

         1.        Concerning Operational Improvement- development of the function is in progress. It needs to be determined how oversight will be handled, as it appears that
                   ABC does not have enterprise standards in place nor an enterprise Project or Program Management Office (PMO). To the best of the CSRA project manager's
                   knowledge, the practice of project management is handled by various Project or Program Management Office's (PMO's) throughout the enterprise and project
                   managers within functional areas such as CSRA. (It is suggested that consideration be given by ABC to implementing a Center of Excellence around program
                   and project management in the future, to support best practices throughout the enterprise.)
                               Standards and procedures can be put in place at the department level for CSRA, as project management practice is fairly consistent throughout ABC,
                   and based on the global standard, the Project Management Institute PMBOK (project management book of knowledge).
         2.        An IT solution is already in place with a defined process. Per comments on ID No. 38, this process can be used for projects that are done in collaboration with
                   IT For projects that do not include IT, various desktop tools are available for project management and it needs to be determined if elements of the IT process
                   and the tools can be leveraged in the business environment.
         3.        In practice, business project managers usually collaborate with IT and external partner project managers on initiatives, forming "mini-PMO's" on specific
                   efforts.




    39                                                                                                                                                                                                 August 25, 2015




    HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                                ABDCMDL00250062
                                                  Case: 1:17-md-02804-DAP Doc #: 2557-44 Filed: 08/30/19 41 of 41. PageID #: 412421




A me risourceBergen Corporation
CSRA Process Review - Findings Matrix

ID         Affected     Category     I Findings & Observations                                                  Gaps & Risks                       Potential      Recommendations
No.        Area &                                                                                                                                  Business

40
           Activity
           Project      Systems
                                     !I There is no cenlralized repository for tracking and reporting project   -Lack of visibility to all tasks
                                                                                                                                                   Impact
                                                                                                                                                   Green          Implement a centralized and comprehensive
           Management                  documentation, though utilizing SharePoint as an interim solution.       and activities                                    matter management solution sudh that the CSRA
                                                                                                                                                                  team has access to key project cocernentanon
                                                                                                                                                                  (e.g., project charters and action plans) and
                                                                                                                                                                  visibility to the status or ongoing projects.
                   A~~igni'id to:      Francine Duncan
RANKING:
                                                                              _X_ Group A, Can be addressed Operationally

                 Select Priority:   _x_ High              Medium               Low            NA                Select Category: _X_ Must Do                   Like to Do _Do Not Need to Do

                                                                                     _X_ Group B, Requires an IT Solution

                Select Priority: __ High _X_ Medium                            Low            NA                Select Category:_ Must Do _X_ Like to Do _Do Not Need to Do

NOTES:

      1.   As an interim solution, a SharePoint can be utilized as the centralized repository, and access provided to CSRA. SharePoint is currently utilized by other groups
           at ABC to house project documentation.
      2.   As CSRA's objective is to house all documentation in one system, it would be most efficient to maintain project documentation in the Matter Management
           System. If this capability is not initially implemented, then a link to the SharePoint within the system would be useful.




40                                                                                                                                                                                  August 25, 2015




HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                 ABDCMDL00250u63
